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                  EXHIBIT 6
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                Ernest L; Agllp..y                                                        case No. : 11·CV·01S46"'LHK
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                                                                                   ·Invoice




      Please make your check payable to "AccessLfnk, LLC." (£1N:26-39191136). Thank you.·
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Accesslink, lLC.
440 Louisi~n~ Street
Suite900
                               j
Houston, TX 17002 .
                                                                         Invoice·#:. 13287
                                                                     Invoice Date: 1012312013
                                                                         Due Date: 11/t212013
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 Aecesslink, LLC .
.440 louistana Street
Suite900
Houston, TX 77002
Phone/Fax#      $88-569-4949                                             · Invoice#; 13287
                                                                      lnvoiceDate: 10/2314013
                                                                         Due.Date: 11122/2013               .
                                                                      case /Matter; API>!~ v~t Samsung NOC... ·
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